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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Quorum Health Corporation

2.   All other names debtor
     used in the last 8 years
                                  DBA QHC
     Include any assumed          DBA Quorum Health
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1573 Mallory Lane, Suite 100
                                  Brentwood, TN 37027
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Williamson                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.quorumhealth.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Quorum Health Corporation                                                                      Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6221

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                               Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(B).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                   proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.

                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                  When                                  Case number
                                                  District                                  When                                  Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Rider 1                                                      Relationship            Affiliate
                                                  District   Delaware                       When       4/07/20                Case number, if known



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor     Quorum Health Corporation                                                                 Case number (if known)
           Name



11. Why is the case filed in        Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                           preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                     No
    real property or personal        Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                       Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                 livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                               Where is the property?
                                                                                Number, Street, City, State & ZIP Code
                                               Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                            Contact name
                                                            Phone



           Statistical and administrative information

13. Debtor's estimation of          .       Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                           1,000-5,000                               25,001-50,000
    creditors                        50-99                                          5001-10,000                               50,001-100,000
                                     100-199                                        10,001-25,000                             More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities            $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Note: The information provided regarding number of creditors, assets, and liabilities in Items 14-16 is being provided on a consolidated basis for the entities listed
on Rider 1.




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Debtor    Quorum Health Corporation                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      04/07/2020
                                                  MM / DD / YYYY


                             X                                                                            Alfred Lumsdaine
                                 Signature of authorized representative of debtor                         Printed name

                                         Executive Vice President and Chief
                                 Title   Financial Officer




18. Signature of attorney    X                                                                             Date 04/07/2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David R. Hurst
                                 Printed name

                                 McDermott Will & Emery LLP
                                 Firm name

                                 1007 North Orange Street
                                 4th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-485-3900                  Email address      dhurst@mwe.com

                                 3743 DE
                                 Bar number and State




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                                             Rider 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the District of Delaware for relief under chapter
11 of title 11 of the United States Code. The Debtors have moved for joint administration of these
cases for procedural purposes only under the case number assigned to the chapter 11 case of Debtor
Quorum Health Corporation.

          Quorum Health Corporation
          Ambulance Services of Forrest City, LLC
          Ambulance Services of McKenzie, Inc.
          Ambulance Services of Tooele, LLC
          Anna Clinic Corp.
          Anna Hospital Corporation
          Augusta Hospital, LLC
          Augusta Physician Services, LLC
          Barrow Health Ventures, Inc.
          Barstow Healthcare Management, Inc.
          Big Bend Hospital Corporation
          Big Spring Hospital Corporation
          Blue Island Clinic Company, LLC
          Blue Island HBP Medical Group, LLC
          Blue Island Hospital Company, LLC
          Blue Island Illinois Holdings, LLC
          Blue Ridge Georgia Holdings, LLC
          Blue Ridge Georgia Hospital Company, LLC
          Central Alabama Physician Services, Inc.
          CHS Utah Holdings, LLC
          Clinton Hospital Corporation
          Crossroads Physician Corp.
          CSRA Holdings, LLC
          Deming Clinic Corporation
          Deming Hospital Corporation
          Deming Nursing Home Company, LLC
          DHSC, LLC
          Doctors Hospital Physician Services, LLC
          Edwardsville Ambulatory Surgery Center, L.L.C.
          Evanston Clinic Corp.
          Evanston Hospital Corporation
          Fannin Regional Orthopaedic Center, Inc.
          Forrest City Arkansas Hospital Company, LLC
          Forrest City Clinic Company, LLC
          Forrest City Holdings, LLC
          Fort Payne Clinic Corp.
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Fort Payne HBP, LLC
Fort Payne Hospital Corporation
Fort Payne RHC Corp.
Galesburg Hospital Corporation
Galesburg Professional Services, LLC
Georgia HMA Physician Management, LLC
Granite City ASC Investment Company, LLC
Granite City Clinic Corp.
Granite City HBP Corp.
Granite City Hospital Corporation
Granite City Illinois Hospital Company, LLC
Granite City Orthopedic Physicians Company, LLC
Granite City Physicians Corp.
Greenville Clinic Corp.
Greenville Hospital Corporation
Hamlet H.M.A, LLC
Hamlet HMA Physician Management, LLC
Hamlet HMA PPM, LLC
Haven Clinton Medical Associates, LLC
Heartland Rural Healthcare, LLC
Hidden Valley Medical Center, Inc.
Hospital of Barstow, Inc.
Hospital of Louisa, Inc.
In-Home Medical Equipment Supplies and Services, Inc.
Jackson Hospital Corporation
Jackson Physician Corp.
Kentucky River HBP, LLC
Kentucky River Physician Corporation
King City Physician Company, LLC
Knox Clinic Corp.
Lindenhurst Illinois Hospital Company, LLC
Lindenhurst Surgery Center, LLC
Lock Haven Clinic Company, LLC
Marion Hospital Corporation
Massillon Community Health System LLC
Massillon Health System, LLC
Massillon Holdings, LLC
Massillon Physician Services, LLC
McKenzie Clinic Corp.
McKenzie Physician Services, LLC
McKenzie Tennessee Hospital Company, LLC
McKenzie-Willamette Regional Medical Center Associates, LLC
Memorial Management, Inc.
Mesquite Clinic Management Company, LLC
MMC of Nevada, LLC
Monroe County Surgical Center, LLC
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Monroe Diagnostic Testing Centers, LLC
Monroe HMA Physician Management, LLC
Monroe HMA, LLC
MWMC Holdings, LLC
National Healthcare of Mt. Vernon, Inc.
National Imaging of Carterville, LLC
National Imaging of Mt. Vernon, LLC
OHANI, LLC
Our Healthy Circle
Paintsville HMA Physician Management, LLC
Paintsville Hospital Company, LLC
Phillips Clinic Company, LLC
Phillips Hospital Company, LLC
QHC ARM Shared Services, LLC
QHC Blue Island Urgent Care Holdings, LLC
QHC California Holdings, LLC
QHC HIM Shared Services, LLC
QHCCS, LLC
QHG of Massillon, Inc.
QHR Development, LLC
QHR Healthcare Affiliates, LLC
QHR Intensive Resources, LLC
QHR International, LLC
Quorum Health Corporation Political Action Committee
Quorum Health Foundation, Inc.
Quorum Health Investment Company, LLC
Quorum Health Resources, LLC
Quorum Purchasing Advantage, LLC
Quorum Solutions, LLC
Red Bud Clinic Corp.
Red Bud Hospital Corporation
Red Bud Illinois Hospital Company, LLC
Red Bud Physician Group, LLC
Red Bud Regional Clinic Company, LLC
River to River Heart Group, LLC
San Miguel Clinic Corp.
San Miguel Hospital Corporation
Southern Illinois Medical Care Associates, LLC
Springfield Oregon Holdings, LLC
Summit Emergency Medicine, LLC
Sunbury Clinic Company, LLC
Sunbury Hospital Company, LLC
Three Rivers Medical Clinics, Inc.
Tooele Clinic Corp.
Tooele Hospital Corporation
Triad of Oregon, LLC
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Waukegan Clinic Corp.
Waukegan Hospital Corporation
Waukegan Illinois Hospital Company, LLC
Williamston Clinic Corp.
Williamston HBP Services, LLC
Williamston Hospital Corporation
Winder HMA, LLC
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                 )
 In re:                                          ) Chapter 11
                                                 )
 QUORUM HEALTH CORPORATION,                      ) Case No. 20-[_______] (___)
                                                 )
                               Debtor.           )
                                                 )
                                                 )

          ATTACHMENT TO VOLUNTARY PETITION FOR NON-INDIVIDUALS
                FILING FOR BANKRUPTCY UNDER CHAPTER 11

      1.     If any of the Debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is 001-37550.

       2.      The following financial data is the latest available information and refers to the
debtor’s condition on February 20, 2020 (unaudited), except as set forth below:

          a.      Total assets:                                   $373,062,746.00

          b.      Total debts (including debts listed in 2.c, $1,262,336,316.00
                  below):

          c.      Debt securities held by more than 500 N/A
                  holders:

          d.      Number of shares of preferred stock:            0

          e.      Number of shares of common stock:               32,664,536 (as of March 25, 2020)

          f.      Comments, if any:                               N/A

       3.      Brief description of Debtor’s business: Quorum Health Corporation is an operator of
general acute care hospitals and outpatient healthcare facilities in the United States.

       4.     List the name of any person who directly or indirectly owns, controls, or holds, with
power to vote, 5% or more of the voting securities of Debtor (as of March 23, 2020): Mudrick
Capital Management, LP, KKR & Co. Inc., York Capital Management Global Advisors LLC,
Davidson Kempner Capital Management LP, and The Goldman Sachs Group Inc.
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                    Omnibus Action by Written Consent in Lieu of a Meeting
                             of the Entities listed on Schedule A

                                            April 6, 2020

        The undersigned, being all of the members of the boards of directors or boards of managers,
as applicable (in each case, a “Board” and collectively, the “Boards”), and the corporate members,
managers or shareholders, as applicable (in each case, a “Controlling Entity” and collectively, the
“Controlling Entities”), of all of the entities listed on Schedule A (each, a “Company”), hereby
consent, in accordance with the organizational documents of each Company and applicable state
laws, to the following actions and adopt the following resolutions with respect to each Company in
lieu of a meeting effective as of the date hereof.

Appointment of Chief Restructuring Officer

         WHEREAS, each Board and Controlling Entity may appoint subordinate officers and agents
as it shall deem necessary, who shall hold their offices for such terms and shall exercise such powers
and perform such duties as shall be determine from time to time by such Board or Controlling Entity;

       WHEREAS, each Board and Controlling Entity deems it to be in the best interests of each
applicable Company to appoint a Chief Restructuring Officer to assist the Companies in their review,
evaluation, and analysis of one or more strategic and/or financing transactions; and

       WHEREAS, each Board and Controlling Entity deems it to be in the best interests of each
applicable Company to appoint Paul Rundell as its Chief Restructuring Officer.

        NOW THEREFORE BE IT RESOLVED, Paul Rundell, be, and hereby is, appointed to serve
as the Chief Restructuring Officer of the Companies for such a term, and shall exercise such powers
and perform such duties as shall be determined by the Boards and Controlling Entities, and in
accordance with the terms and conditions of that certain engagement letter, dated as of December 9,
2019, by and among the Companies and Alvarez & Marsal North America, LLC (“A&M”), as may
be amended from time to time.

Chapter 11 Filing

       WHEREAS, each Board and Controlling Entity has considered presentations by the financial
and legal advisors of each of the Companies regarding the liabilities and liquidity situation of each
of the Companies, the strategic alternatives available to it, and the effect of the foregoing on each
Company’s business;

       WHEREAS, each Board and Controlling Entity has had the opportunity to consult with the
financial and legal advisors of the Companies and fully consider each of the strategic alternatives
available to the Companies; and

        WHEREAS, each Board and Controlling Entity has had the opportunity to consult with the
financial and legal advisors of the Companies and review the chapter 11 of title 11 of the United
                                                   1
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States Code (the “Bankruptcy Code”) preparation materials provided by the financial and legal
advisors, and each Board and Controlling Entity recommends the adoption of these resolutions.

         NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of each Board and
Controlling Entity, it is desirable and in the best interests of each Company (including a consideration
of its creditors and other parties in interest) that each Company shall be, and hereby is, authorized to
file, or cause to be filed, a voluntary petition for relief (each a “Chapter 11 Case” and collectively,
the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the Bankruptcy Code in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) and any other
petition for relief or recognition or other order that may be desirable under applicable law in the
United States;

          FURTHER RESOLVED, that the Chief Executive Officer, any Vice President, any
Assistant Vice President, Chief Financial Officer, Treasurer, General Counsel, Secretary or Assistant
Secretary, any Manager, any Director, or any other duly appointed officer or other person acting at
the direction of the foregoing officers of each Company (collectively, the “Authorized Signatories”),
acting alone or with one or more other Authorized Signatories be, and they hereby are, authorized,
empowered, and directed to execute and file on behalf of each Company all petitions, schedules, lists
and other motions, papers, or documents, and to take any and all actions that they deem necessary,
proper or convenient to obtain such relief, including, without limitation, any action necessary to
maintain the ordinary course operation of each Company’s business; and

          FURTHER RESOLVED, that all acts and deeds previously performed by any of the
officers of the Companies prior to the adoption of the foregoing recitals and resolutions that are
within the authority conferred by the foregoing recitals and resolutions, are hereby ratified,
confirmed, and approved in all respects as the authorized acts and deeds of the Companies.

 Entry into Restructuring Support Agreement and Solicitation of the Plan

         WHEREAS, each Board and Controlling Entity reviewed and considered presentations by
 the financial and legal advisors of each Company regarding the advantages and disadvantages to
 each Company soliciting acceptances of the Debtors’ Joint Prepackaged Chapter 11 Plan of
 Reorganization contemplated by the Restructuring Support Agreement (as may be amended or
 modified from time to time and including all exhibits and supplements thereto, the “Plan”); and

          WHEREAS, each Board and Controlling Entity had the opportunity to consult with the
financial and legal advisors of the Companies and fully considered each of the strategic alternatives
to the Plan.

          NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of each Board
and Controlling Entity, it is desirable and in the best interests of each Company, its equityholders,
its creditors, and other parties in interest to enter into the Restructuring Support Agreement and to
commence solicitation of the Plan pursuant to sections 1125(g) and 1126(b) of the Bankruptcy Code
and rule 3018(b) of the Federal Rules of Bankruptcy Procedure, and that each Company’s
performance of its obligations under the Restructuring Support Agreement and the solicitation of
votes in favor of the Plan be and hereby is, in all respects, authorized and approved;

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          FURTHER RESOLVED, that the Authorized Signatories, acting alone or with one or more
other Authorized Signatories be, and they hereby are, authorized, empowered, and directed to
execute the Restructuring Support Agreement on behalf of the Companies, perform all the
transactions contemplated thereby, including commencing solicitation of the Plan;

          FURTHER RESOLVED, that each Board and Controlling Entity hereby authorizes and
approves in all respects, the Plan and all actions contemplated under the Plan including: (1) adoption
or assumption, as applicable, of the agreements with existing management; (2) selection of the
directors, managers, and officers for the Reorganized Debtors (as defined therein);
(3) implementation of the Restructuring Transactions (as defined therein); and (4) all other actions
contemplated under the Plan (whether to occur before, on, or after the date hereof), including,
without limitation, any sale of other disposition of Galesburg (as defined therein) by Quorum (as
defined therein) or Reorganized Quorum (as defined therein), as applicable. Furthermore, the
Authorized Signatories of the Companies are hereby authorized to issue, execute, and deliver the
agreements, documents, securities, and instruments contemplated under the Plan (or necessary or
desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of the
Companies, including the Equity Investment Commitment Agreement, the New Shareholders
Agreement, in each case as defined in the Plan or Plan Supplement and any and all other agreements,
documents, securities, and instruments relating to the foregoing.

Retention of Professionals

       WHEREAS, each Board and Controlling Entity has considered presentations by the financial
and legal advisors of each Company regarding the retention of such financial and legal advisors by
each Company.

         NOW, THEREFORE, BE IT RESOLVED, that each of the Authorized Signatories be, and
hereby is, authorized, empowered and directed to employ the law firm of McDermott Will & Emery
LLP (“McDermott”) as general bankruptcy counsel to represent and assist each Company in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance each Company’s
rights and obligations, including filing any motions, objections, replies, applications, or pleadings;
and in connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
retainers and fees, and to cause to be filed an appropriate application for authority to retain the
services of McDermott;

       FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ A&M as financial advisor to represent and assist each
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to
advance each of each Company’s rights and obligations; and in connection therewith, each of the
Authorized Signatories, with power of delegation, is hereby authorized, empowered, and directed to
execute appropriate retention agreements, pay appropriate retainers and fees, and to cause to be filed
an appropriate application for authority to retain the services of A&M;



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        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm of KPMG LLP (“KPMG”) as tax consultant
to represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance each of each Company’s rights and obligations; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized,
empowered, and directed to execute appropriate retention agreements, pay appropriate retainers and
fees, and to cause to be filed an appropriate application for authority to retain the services of KPMG;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm of MTS Health Partners, LP (“MTS”) as
investment banker to represent and assist each Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized, empowered, and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of MTS;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm of Epiq Corporate Restructuring, LLC
(“Epiq”) as notice and claims agent to represent and assist each Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized, empowered, and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed appropriate applications for
authority to retain the services of Epiq;

       FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered, and directed to employ any other professionals to assist each Company in
carrying out its duties under the Bankruptcy Code; and in connection therewith, each of the
Authorized Signatories, with power of delegation, is hereby authorized, empowered and directed to
execute appropriate retention agreements, pay appropriate retainers and fees, and to cause to be filed
an appropriate application for authority to retain the services of any other professionals as necessary,
proper or convenient; and

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is, with the
power of delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers, and, in connection therewith, to employ and
retain all assistance by legal counsel, accountants, financial advisors, and other professionals and to
take and perform any and all further acts and deeds that each of the Authorized Signatories deem
necessary, proper, or desirable in connection with each Company’s Chapter 11 Case, with a view to
the successful prosecution of such case.

Debtor-in-Possession Financing, Cash Collateral, and Adequate Protection

       WHEREAS, each Company is party to that certain (i) ABL Credit Agreement, dated as of
April 19, 2016, providing access to a credit facility (the “Prepetition ABL Facility”) with the lenders

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party thereto and UBS AG, as administrative agent (the “Prepetition ABL Agent”) and (ii) Credit
Agreement, dated as of April 29, 2016, providing access to a revolving credit facility and a term
credit facility (collectively, the “Prepetition Credit Facility”) with the lenders party thereto and Credit
Suisse AG, as administrative agent (the “Prepetition Agent”);

        WHEREAS, reference is made to that certain debtor-in-possession credit agreement (together
with any and all exhibits, schedules, and annexes thereto, the “DIP Credit Agreement”) providing
for a junior secured super-priority credit facility of up to $100 million in the aggregate (together with
all exhibits, schedules, and annexes thereto, as amended, amended and restated, supplemented or
otherwise modified from time to time, the “DIP Facility”) dated as of, or about, the date hereof, among
the Borrower (as defined therein) and certain subsidiaries who were guarantors on preexisting
indebtedness, the lenders listed therein and party thereto from time to time (the “DIP Lenders”) and
the administrative agent thereto (the “DIP Agent”), that sets forth the terms and conditions of the
debtor-in-possession credit financing to be provided to the Companies by the DIP Lenders;

         NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board or Controlling
Entity of each Company, each Company will receive benefits from the DIP Credit Agreement and
the loans contemplated thereunder, and it is desirable and in the best interest of each Company, each
Company’s equityholders, creditors, and other parties in interest that the form, terms, and provisions
of (i) that certain DIP Credit Agreement and (ii) the Loan Documents (as defined in the DIP Credit
Agreement) to which any and all of the Companies are a party, all other documents, agreements,
instruments or certificates, intellectual property security agreements, joinders, and consents to be
executed, delivered, or filed by each Company in connection therewith, and the transactions
contemplated by the DIP Credit Agreement and the other Loan Documents (in each case including,
without limitation, the borrowings and other extensions of credit thereunder, and the guaranties,
liabilities, obligations, security interest granted and notes issued, if any, in connection therewith) be,
and hereby are, authorized, adopted, and approved in substantially the form presented to the Board
or Controlling Entity of each Company, together with such changes as may be approved by the
Authorized Signatories executing and delivering the same, such approval to be conclusively
evidenced by such Authorized Signatory’s execution and delivery thereof;

        FURTHER RESOLVED, that the Board or Controlling Entity of each Company has
determined that it is necessary and in the best interest of each such Company’s business and affairs,
each Company’s equityholders, creditors, and other parties in interest that the form, terms, and
provisions of (i) that certain DIP Credit Agreement, in substantially the form presented to each Board
or Controlling Entity of each Company, to execute, deliver, and perform the DIP Credit Agreement
and (ii) the other Loan Documents to which it is a party, to perform such Company’s obligations
thereunder and to consummate the transactions contemplated thereby, including, without limitation,
any borrowings, the performance of any guarantees and the granting of any security interests and
liens, and each Company’s execution and delivery of, and the incurrence and performance of its
obligations in connection with the DIP Credit Agreement, including without limitation, the guarantee
of and pledging of assets to secure the Obligations (as defined in the DIP Credit Agreement)
thereunder, and any other Loan Document to which it is a party, and the consummation of the
transactions contemplated thereby or entered into in connection with the Loan Documents, including,
without limitation, any borrowing by any Company under the Loan Documents, are hereby, in all
respects, authorized and approved;
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        FURTHER RESOLVED, that each Company will obtain benefits from (a) the use of
collateral, including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”), which is security for certain prepetition secured lenders (collectively, the
“Prepetition Secured Lenders”) under the Prepetition ABL Facility and/or the Prepetition Credit
Facility, and (b) the incurrence of debtor-in-possession financing obligations pursuant to the DIP
Facility (collectively, the “DIP Financing”);

       FURTHER RESOLVED, that in order to use and obtain the benefits of (a) the DIP Financing
and (b) the Cash Collateral, and in accordance with section 363 of the Bankruptcy Code, each
Company will provide certain liens, claims, and adequate protection to the Prepetition Secured
Lenders and to the DIP Lenders to secure the obligations of the Companies under the DIP Facility
(such obligations, the “DIP Obligations”) as documented in a proposed order in interim and final
form (the “DIP Orders”), authorizing and approving the DIP Credit Agreement, the other Loan
Documents, and the transactions thereby, and submitted for approval to the Bankruptcy Court;

        FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
each Company is or will be subject, and the actions and transactions contemplated thereby are hereby
authorized, adopted, and approved, and each of the Authorized Signatories of each Company be, and
hereby is, authorized and empowered, in the name of and on behalf of each Company, to take such
actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and
cause the performance of, each DIP Order and such other agreements, certificates, instruments,
receipts, petitions, motions, or other papers or documents relating to the transactions contemplated
thereby to which each Company is or will be a party, including, but not limited to, any security
agreements, pledge agreements, guaranty agreement, assignment documents, notices, financing
statements, mortgages, intellectual property filings, tax affidavits, fee letters and other instruments
as the DIP Agent or requisite DIP Lenders may reasonably request or as may be necessary or
appropriate to create, preserve and perfect the liens of the DIP Agent or the Prepetition ABL Agent
and/or the Prepetition Agent, purported or required pursuant to any of the transaction documents to
be created in the Collateral (as defined in the DIP Credit Agreement (or similar term defined
therein)), such agreements with third parties (including, without limitation, bank agency agreements,
lockbox agreements, control agreements, landlord agreements and warehouse letters) relating to the
Collateral, any swap contracts or hedging agreements and such other loan documents, guarantees,
instruments, certificates and documents as may be reasonably requested by the DIP Agent, the
requisite DIP Lenders or required by the DIP Orders, DIP Credit Agreement or any of the foregoing
(collectively with the DIP Orders, the “DIP Documents”), with such changes, additions, and
modifications thereto as any Authorized Signatory executing the same shall approve, such approval
to be conclusively evidenced by such Authorized Signatory’s execution and delivery thereof;

       FURTHER RESOLVED, that the incurrence of the liabilities and obligations arising from
each DIP Order and each DIP Document by each Company party thereto, (i) is necessary and
convenient to the conduct, promotion and attainment of the business of the Companies, and (ii) may
reasonably be expected to benefit the Companies, directly or indirectly;

      FURTHER RESOLVED, that each Company, as debtor and debtors-in-possession under the
Bankruptcy Code be, and hereby is, authorized to incur the DIP Obligations, including the borrowing

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of the loans under the DIP Credit Agreement, and other obligations related to the DIP Financing and
to undertake any and all related transactions on substantially the same terms as contemplated under
the DIP Documents, including guaranteeing the DIP Obligations and assigning, transferring,
pledging and granting to the DIP Agent or the Prepetition ABL Agent and/or the Prepetition Agent,
for the ratable benefit of the respective or applicable Secured Parties (as defined in the DIP Credit
Agreement (or similar term defined therein)), a security interest in all or substantially all the assets
of such Company, as collateral security for the prompt and complete payment and performance
when due of the DIP Obligations under the DIP Credit Agreement, the DIP Orders, and the other
DIP Documents to which such Company is a party or which it is subject to (collectively, the “DIP
Transactions”);

        FURTHER RESOLVED, that each of the Authorized Signatories of each Company, acting
alone or with one or more other Authorized Signatories, be, and hereby is, authorized, directed and
empowered in the name of, and on behalf of, each Company, as debtors and debtors-in-possession,
to take such actions as in their discretion is determined to be necessary, desirable, or appropriate to
execute the DIP Transactions, including the negotiation, execution and delivery of: (a) the DIP
Documents; (b) such other instruments, certificates, notices, assignments, and other documents,
including, without limitation, any amendments to any DIP Documents, as may be reasonably
requested by the DIP Agent; and (c) such forms of deposit account control agreements, officer’s
certificates, and compliance certificates as may be required by the DIP Documents, in the name of
and on behalf of each Company, with such changes therein as shall be approve by the Authorized
Signatories executing the same, with such execution by said Authorized Signatory to constitute
conclusive evidence of his or her approval of the terms thereof, including any departures therein from
any form presented to the Boards and Controlling Entities;

        FURTHER RESOLVED, that each of the Authorized Signatories of each Company, acting
alone or with one or more other Authorized Signatories, be, and hereby is, authorized, directed and
empowered in the name of, and on behalf of, each Company, as debtors and debtors-in-possession,
to guarantee the DIP Obligations under the DIP Documents and to assign, transfer, pledge and grant
to the DIP Agent or the Prepetition ABL Agent and/or the Prepetition Agent, for the ratable benefit
of the respective or applicable Secured Parties (as defined in the DIP Credit Agreement (or similar
term defined therein)), a security interest in all or substantially all the assets of such Company, as
collateral security for the prompt and complete payment and performance when due of the DIP
Obligations under the DIP Credit Agreement, the DIP Orders, and the other DIP Documents to which
such Company is a party or which it is subject to and to take or cause to be taken any such actions as
may be necessary, appropriate or desirable to cause the Companies to create, perfect and maintain a
security interest in the Companies’ property or assets constituting Collateral as described or
contemplated in the DIP Documents;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized and empowered to take all actions or to not take any action in the name of each Company
with respect to the transactions contemplated by these resolutions, whether existing now or in the
future, in each case, as such Authorized Signatory shall deem necessary or desirable in such
Authorized Signatory’s reasonable business judgment, including without limitation, the
authorization of resolutions and agreements necessary to authorize the execution, delivery and
performance pursuant to the DIP Documents (including, without limitation, certificates, affidavits,

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financing statements, notices, reaffirmations and amendments and restatements thereof or relating
thereto) as may be necessary, appropriate or convenient to effectuate the purposes of the transactions
contemplated therein;

         FURTHER RESOLVED, that each of the Authorized Signatories of each Company be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, each Company to
file, or to authorize the DIP Agent to file, any Uniform Commercial Code (the “UCC”) financing
statements, any other equivalent filings, any intellectual property filings and recordation, and any
necessary assignments for security or other documents in the name each Company that the DIP Agent
or the Prepetition ABL Agent and/or the Prepetition Agent deem necessary or appropriate to perfect
any lien or security interest granted under the DIP Orders and the DIP Documents, including any
such UCC financing statement containing a generic description of collateral, such as “all assets,” “all
property now or hereafter acquired” and other similar descriptions of like import, and to execute and
deliver, and to record or authorize the recording of, such mortgages and deeds of trust in respect of
real property of each Company and such other filings in respect of intellectual and other property of
each Company, in each case as the DIP Agent or the Prepetition ABL Agent and/or the Prepetition
Agent may reasonably request to perfect the security interests of the DIP Agent or the Prepetition
ABL Agent and/or the Prepetition Agent under the DIP Orders or any of the other DIP Documents;

        FURTHER RESOLVED, that the pledge by the Companies, of the Pledged Collateral (as
defined in the DIP Credit Agreement or related security or pledge agreements (or similar term
defined therein)) held by it, the transfer of such Pledged Collateral to the DIP Agent and any transfer
from to time by the DIP Agent to any other person pursuant to the exercise of any rights under any
collateral document and all steps required of any subsidiaries of the Companies to give effect to such
pledge and transfers, including the issuance of certificates of ownership and the entering of the names
of any transferees onto such subsidiaries’ equity holder registers, are hereby approved; and that each
of the Authorized Signatories of each of the Companies is hereby authorized, empowered and directed
on behalf of such applicable Company, to execute and deliver any such other transfer documents or
instruments;

        FURTHER RESOLVED, that each of the Authorized Signatories of each Company be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, each Company to
take all such further actions, including, without limitation, to pay all fees and expenses payable in
accordance with the terms of the DIP Documents, to arrange for and enter into supplemental
agreements, amendments, instruments, certificates or documents relating to the transactions
contemplated by any of the DIP Documents and to execute and deliver all such supplemental
agreements, amendments, instruments, certificates or documents in the name and on behalf of each
of the Companies, which shall in their sole judgment be necessary, proper or advisable in order to
perform such Companies’ obligations under of in connection with any of the DIP Documents and
the transactions contemplated therein (execution by such Authorized Signatory to constitute
conclusive evidence of such judgment), and to carry out fully the intent of the foregoing resolution.
The performance of any such further act or thing and the execution of any such document or
instrument by any of the Authorized Signatories of the Companies pursuant to these resolutions shall
be conclusive evidence that the same have been authorized and approved by the Companies in every
respect; and

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         FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized to execute and deliver to the DIP Agent or the Prepetition ABL Agent and/or the
Prepetition Agent, as applicable, and to perform the applicable Company’s obligations under, all
other documents, certificates, instruments, agreements and writings including any interest rate
swaps, caps, collars or similar hedging agreement and any financing statements (or amendments
thereto) that may be contemplated by, or required in connection with, the DIP Documents, these
resolutions and the transactions described herein and therein, and to do all such acts and things as
any person hereinafter authorized to execute such documents on behalf of such Company determines
to be necessary or advisable in connection with or as contemplated by, or for the purpose of giving
effect to, or carrying out the provisions of, the DIP Documents, such determination to be conclusively
evidenced by such person’s signature thereon or completion thereof, as applicable.

General Resolutions

       NOW, THEREFORE, BE IT RESOLVED, that the Authorized Signatories of each of the
Companies be, and each of them hereby is, authorized, empowered, and directed to execute,
acknowledge, verify, deliver, and file any and all such other agreements, documents, instruments,
and certificates and to take such other actions as may be necessary, proper or appropriate in order to
carry out the intent and purposes of the foregoing resolutions;

       FURTHER RESOLVED, that each Board or Controlling Entity of each Company has
received sufficient notices of the actions and transactions relating to the matters contemplated by the
foregoing resolutions, as may be required by the organizational documents of each Company, or
hereby waive any right to have received such notice;

        FURTHER RESOLVED, that each of the members of the board of managers or board of
directors, the member, or the managing member, as applicable, hereby irrevocably waives notice of
the time, place, and purposes of the meeting and any adjournments thereof, to the extent such notice
is required by the applicable organizational documents of each Company;

        FURTHER RESOLVED, that any and all actions heretofore or hereafter taken and expenses
incurred in the name of and on behalf of any Company by any officer, director or other Authorized
Signatory of any Company in connection with or related to the matters set forth or contemplated by
the foregoing resolutions be, and they hereby are, approved, ratified, and confirmed in all respects
as fully as if such actions had been presented to the Boards and Controlling Entities for approval
prior to such actions being taken; and

       FURTHER RESOLVED, that an Authorized Signatory of the Companies is hereby
authorized to certify to third parties with respect to adoption of these resolutions in the form and
substance satisfactory to them.

                                [Remainder of page intentionally left blank]




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       The undersigned agree that this Omnibus Action by Written Consent in Lieu of a Meeting of
the Boards and Controlling Entities shall be added to the corporate records of each Company and
made a part thereof, and the undersigned further agree that the resolutions set forth hereinabove shall
have the same force and effect as if adopted at a meeting duly noticed and held, pursuant to each
Company’s organizational documents and the applicable laws of the jurisdiction in which such
Company is organized. Facsimile, scanned, or electronic signatures shall be acceptable as originals.

                                      [Signature pages follow]




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      IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action by Written
Consent as of the date first written above.


                                           BOARD OF DIRECTORS OF AMBULANCE
                                           SERVICES OF TOOELE, LLC; ANNA
                                           CLINIC CORP.; ANNA HOSPITAL
                                           CORPORATION; BARSTOW
                                           HEALTHCARE MANAGEMENT, INC.; BIG
                                           BEND HOSPITAL CORPORATION; BLUE
                                           RIDGE GEORGIA HOLDINGS, LLC; BLUE
                                           RIDGE GEORGIA HOSPITAL COMPANY,
                                           LLC; CHS UTAH HOLDINGS, LLC;
                                           CROSSROADS PHYSICIAN CORP.;
                                           DEMING CLINIC CORPORATION;
                                           DEMING HOSPITAL CORPORATION;
                                           DEMING NURSING HOME COMPANY,
                                           LLC; EDWARDSVILLE AMBULATORY
                                           SURGERY CENTER, LLC; EVANSTON
                                           CLINIC CORP.; EVANSTON HOSPITAL
                                           CORPORATION; FANNIN REGIONAL
                                           ORTHOPAEDIC CENTER, INC.; FORREST
                                           CITY HOLDINGS, LLC; FORT PAYNE
                                           CLINIC CORP.; FORT PAYNE HBP, LLC;
                                           FORT PAYNE HOSPITAL
                                           CORPORATION; FORT PAYNE RHC
                                           CORP.; GALESBURG HOSPITAL
                                           CORPORATION; GALESBURG
                                           PROFESSIONAL SERVICES, LLC;
                                           GRANITE CITY ASC INVESTMENT
                                           COMPANY, LLC; GRANITE CITY CLINIC
                                           CORP.; GRANITE CITY HBP CORP.;
                                           GRANITE CITY HOSPITAL
                                           CORPORATION; GRANITE CITY
                                           PHYSICIANS CORP.; HIDDEN VALLEY
                                           MEDICAL CENTER, INC.; HOSPITAL OF
                                           BARSTOW, INC.; HOSPITAL OF LOUISA,
                                           INC.; IN-HOME MEDICAL EQUIPMENT
                                           SUPPLIES AND SERVICES, INC.;
                                           JACKSON HOSPITAL CORPORATION;
                                           JACKSON PHYSICIAN CORP.;
                                           KENTUCKY RIVER HBP, LLC;
                                           KENTUCKY RIVER PHYSICIAN
                                           CORPORATION; KING CITY PHYSICIAN
                                           COMPANY, LLC; KNOX CLINIC CORP.;
                                           LINDENHURST SURGERY CENTER, LLC;

               [SIGNATURE PAGE TO OMNIBUS ACTION BY WRITTEN CONSENT]
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                            MARION HOSPITAL CORPORATION;
                            MEMORIAL MANAGEMENT INC.;
                            MESQUITE CLINIC MANAGEMENT
                            COMPANY, LLC; MONROE COUNTY
                            SURGICAL CENTER, LLC; MWMC
                            HOLDINGS, LLC; NATIONAL
                            HEALTHCARE OF MT. VERNON, INC.;
                            NATIONAL IMAGING OF CARTERVILLE,
                            LLC; NATIONAL IMAGING OF MOUNT
                            VERNON, LLC; OHANI, LLC; OUR
                            HEALTHY CIRCLE; PAINTSVILLE HMA
                            PHYSICIAN MANAGEMENT, LLC;
                            PHILLIPS CLINIC COMPANY, LLC;
                            PHILLIPS HOSPITAL COMPANY, LLC;
                            QHC ARM SHARED SERVICES, LLC; QHC
                            CALIFORNIA HOLDINGS, LLC; QHC HIM
                            SHARED SERVICES, LLC; QHCCS, LLC;
                            QHR DEVELOPMENT, LLC; QHR
                            HEALTHCARE AFFILIATES, LLC; QHR
                            INTENSIVE RESOURCES, LLC; QHR
                            INTERNATIONAL, LLC; QUORUM
                            HEALTH FOUNDATION; QUORUM
                            HEALTH INVESTMENT COMPANY, LLC;
                            QUORUM HEALTH RESOURCES, LLC;
                            QUORUM PURCHASING ADVANTAGE,
                            LLC; QUORUM SOLUTIONS, LLC; RED
                            BUD CLINIC CORP.; RED BUD HOSPITAL
                            CORPORATION; RED BUD PHYSICIAN
                            GROUP, LLC; RED BUD REGIONAL
                            CLINIC COMPANY, LLC; SAN MIGUEL
                            CLINIC CORP.; SAN MIGUEL HOSPITAL
                            CORPORATION; SUMMIT EMERGENCY
                            MEDICINE, LLC; THREE RIVERS
                            MEDICAL CLINICS, INC.; TOOELE
                            CLINIC CORP.; TOOELE HOSPITAL
                            CORPORATION; WAUKEGAN CLINIC
                            CORP.; WAUKEGAN HOSPITAL
                            CORPORATION; WILLIAMSTON CLINIC
                            CORP.; WILLIAMSTON HBP SERVICES,
                            LLC; AND WILLIAMSTON HOSPITAL
                            CORPORATION




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      IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action by Written
Consent as of the date first written above.


                                  QUORUM HEALTH CORPORATION:
                                  as sole member of Blue Island Illinois Holdings, LLC; Blue
                                  Ridge Georgia Holdings, LLC; CHS Utah Holdings, LLC;
                                  Deming Nursing Home Company, LLC; Fort Payne HBP,
                                  LLC; Galesburg Professional Services, LLC; Haven Clinton
                                  Medical Associates, LLC; Kentucky River HBP, LLC; King
                                  City Physician Company, LLC; Lock Haven Clinic
                                  Company, LLC; McKenzie Tennessee Hospital Company,
                                  LLC; National Imaging of Mount Vernon, LLC; Our
                                  Healthy Circle; QHC California Holdings, LLC; QHCCS,
                                  LLC; Quorum Health Corporation Political Action
                                  Committee; Quorum Health Foundation; Quorum Health
                                  Investment Company, LLC; Red Bud Regional Clinic
                                  Company, LLC; Summit Emergency Medicine, LLC;
                                  Sunbury Clinic Company, LLC; Sunbury Hospital
                                  Company, LLC; and Williamston HBP Services, LLC; and
                                  as sole shareholder of Ambulance Services of McKenzie,
                                  Inc.; Anna Clinic Corp.; Anna Hospital Corporation; Big
                                  Bend Hospital Corporation; Big Spring Hospital
                                  Corporation; Central Alabama Physician Services, Inc.;
                                  Clinton Hospital Corporation; Crossroads Physician
                                  Corp.; Deming Clinic Corporation; Deming Hospital
                                  Corporation; Evanston Clinic Corp.; Evanston Hospital
                                  Corporation; Fort Payne Clinic Corp.; Fort Payne Hospital
                                  Corporation; Fort Payne RHC Corp.; Galesburg Hospital
                                  Corporation; Granite City Clinic Corp.; Granite City
                                  Hospital Corporation; Granite City Physicians Corp.;
                                  Greenville Clinic Corp.; Greenville Hospital Corporation;
                                  Hospital of Louisa, Inc.; Jackson Hospital Corporation;
                                  Jackson Physician Corp.; Kentucky River Physician
                                  Corporation; Knox Clinic Corp.; Marion Hospital
                                  Corporation; McKenzie Clinic Corp.; Memorial
                                  Management Inc.; National Healthcare of Mt. Vernon, Inc.;
                                  Red Bud Clinic Corp.; Red Bud Hospital Corporation; San
                                  Miguel Clinic Corp.; San Miguel Hospital Corporation;
                                  Three Rivers Medical Clinics, Inc.; Tooele Clinic Corp.;
                                  Tooele Hospital Corporation; Waukegan Hospital
                                  Corporation; Williamston Clinic Corp.; and Williamston
                                  Hospital Corporation




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                              SCHEDULE A

Company
AMBULANCE SERVICES OF FORREST CITY, LLC
AMBULANCE SERVICES OF MCKENZIE, INC.
AMBULANCE SERVICES OF TOOELE, LLC
ANNA CLINIC CORP.
ANNA HOSPITAL CORPORATION
AUGUSTA HOSPITAL, LLC
AUGUSTA PHYSICIAN SERVICES, LLC
BARROW HEALTH VENTURES, INC.
BARSTOW HEALTHCARE MANAGEMENT, INC.
BIG BEND HOSPITAL CORPORATION
BIG SPRING HOSPITAL CORPORATION
BLUE ISLAND CLINIC COMPANY, LLC
BLUE ISLAND HBP MEDICAL GROUP, LLC
BLUE ISLAND HOSPITAL COMPANY, LLC
BLUE ISLAND ILLINOIS HOLDINGS, LLC
BLUE RIDGE GEORGIA HOLDINGS, LLC
BLUE RIDGE GEORGIA HOSPITAL COMPANY, LLC
CENTRAL ALABAMA PHYSICIAN SERVICES, INC.
CHS UTAH HOLDINGS, LLC
CLINTON HOSPITAL CORPORATION
CROSSROADS PHYSICIAN CORP.
CSRA HOLDINGS, LLC
DEMING CLINIC CORPORATION
DEMING HOSPITAL CORPORATION
DEMING NURSING HOME COMPANY, LLC
DHSC, LLC
DOCTORS HOSPITAL PHYSICIAN SERVICES, LLC
EDWARDSVILLE AMBULATORY SURGERY CENTER, L.L.C.
EVANSTON CLINIC CORP
EVANSTON HOSPITAL CORPORATION
FANNIN REGIONAL ORTHOPAEDIC CENTER, INC.
FORREST CITY ARKANSAS HOSPITAL COMPANY, LLC
FORREST CITY CLINIC COMPANY, LLC
FORREST CITY HOLDINGS, LLC
FORT PAYNE CLINIC CORP.
FORT PAYNE HBP, LLC
FORT PAYNE HOSPITAL CORPORATION
FORT PAYNE RHC CORP.
GALESBURG HOSPITAL CORPORATION
GALESBURG PROFESSIONAL SERVICES, LLC
GEORGIA HMA PHYSICIAN MANAGEMENT, LLC
GRANITE CITY ASC INVESTMENT COMPANY, LLC
GRANITE CITY CLINIC CORP.

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GRANITE CITY HBP CORP.
GRANITE CITY HOSPITAL CORPORATION
GRANITE CITY ILLINOIS HOSPITAL COMPANY, LLC
GRANITE CITY ORTHOPEDIC PHYSICIANS COMPANY, LLC
GRANITE CITY PHYSICIANS CORP.
GREENVILLE CLINIC CORP
GREENVILLE HOSPITAL CORPORATION
HAMLET H.M.A., LLC
HAMLET HMA PHYSICIAN MANAGEMENT, LLC
HAMLET HMA PPM, LLC
HAVEN CLINTON MEDICAL ASSOCIATES, LLC
HEARTLAND RURAL HEALTHCARE, LLC
HIDDEN VALLEY MEDICAL CENTER, INC.
HOSPITAL OF BARSTOW, INC.
HOSPITAL OF LOUISA, INC.
IN-HOME MEDICAL EQUIPMENT SUPPLIES AND SERVICES, INC.
JACKSON HOSPITAL CORPORATION
JACKSON PHYSICIAN CORP.
KENTUCKY RIVER HBP, LLC
KENTUCKY RIVER PHYSICIAN CORPORATION
KING CITY PHYSICIAN COMPANY, LLC
KNOX CLINIC CORP.
LINDENHURST ILLINOIS HOSPITAL COMPANY, LLC
LINDENHURST SURGERY CENTER, LLC
LOCK HAVEN CLINIC COMPANY, LLC
MARION HOSPITAL CORPORATION
MASSILLON COMMUNITY HEALTH SYSTEM LLC
MASSILLON HEALTH SYSTEM LLC
MASSILLON HOLDINGS, LLC
MASSILLON PHYSICIAN SERVICES, LLC
MCKENZIE CLINIC CORP.
MCKENZIE PHYSICIAN SERVICES, LLC
MCKENZIE TENNESSEE HOSPITAL COMPANY, LLC
MCKENZIE-WILLAMETTE REGIONAL MEDICAL CENTER ASSOCIATES, LLC
MEMORIAL MANAGEMENT, INC.
MESQUITE CLINIC MANAGEMENT COMPANY, LLC
MMC OF NEVADA, LLC
MONROE COUNTY SURGERY CENTER, LLC
MONROE DIAGNOSTIC TESTING CENTERS, LLC
MONROE HMA PHYSICIAN MANAGEMENT, LLC
MONROE HMA, LLC
MWMC HOLDINGS, LLC
NATIONAL HEALTHCARE OF MT. VERNON, INC.
NATIONAL IMAGING OF CARTERVILLE, LLC
NATIONAL IMAGING OF MOUNT VERNON, LLC
OHANI, LLC

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OUR HEALTHY CIRCLE
PAINTSVILLE HMA PHYSICIAN MANAGEMENT, LLC
PAINTSVILLE HOSPITAL COMPANY, LLC
PHILLIPS CLINIC COMPANY, LLC
PHILLIPS HOSPITAL COMPANY, LLC
QHC ARM SHARED SERVICES, LLC
QHC BLUE ISLAND URGENT CARE HOLDINGS, LLC
QHC CALIFORNIA HOLDINGS, LLC
QHC HIM SHARED SERVICES, LLC
QHCCS, LLC
QHG OF MASSILLON, INC.
QHR DEVELOPMENT, LLC
QHR HEALTHCARE AFFILIATES, LLC
QHR INTENSIVE RESOURCES, LLC
QHR INTERNATIONAL, LLC
QUORUM HEALTH CORPORATION
QUORUM HEALTH CORPORATION POLITICAL ACTION COMMITTEE
QUORUM HEALTH FOUNDATION, INC.
QUORUM HEALTH INVESTMENT COMPANY, LLC
QUORUM HEALTH RESOURCES, LLC
QUORUM PURCHASING ADVANTAGE, LLC
QUORUM SOLUTIONS, LLC
RED BUD CLINIC CORP.
RED BUD HOSPITAL CORPORATION
RED BUD ILLINOIS HOSPITAL COMPANY, LLC
RED BUD PHYSICIAN GROUP, LLC
RED BUD REGIONAL CLINIC COMPANY, LLC
RIVER TO RIVER HEART GROUP, LLC
SAN MIGUEL CLINIC CORP.
SAN MIGUEL HOSPITAL CORPORATION
SOUTHERN ILLINOIS MEDICAL CARE ASSOCIATES, LLC
SPRINGFIELD OREGON HOLDINGS, LLC
SUMMIT EMERGENCY MEDICINE, LLC
SUNBURY CLINIC COMPANY, LLC
SUNBURY HOSPITAL COMPANY, LLC
THREE RIVERS MEDICAL CLINICS, INC.
TOOELE CLINIC CORP.
TOOELE HOSPITAL CORPORATION
TRIAD OF OREGON, LLC
WAUKEGAN CLINIC CORP.
WAUKEGAN HOSPITAL CORPORATION
WAUKEGAN ILLINOIS HOSPITAL COMPANY, LLC
WILLIAMSTON CLINIC CORP.
WILLIAMSTON HBP SERVICES, LLC
WILLIAMSTON HOSPITAL CORPORATION
WINDER HMA, LLC

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    Fill in this information to identify the case:
    Debtor name: Quorum Health Corporation, et al.,
    United States Bankruptcy Court for the: District of Delaware
    Case number (If known): ______________                                                                                                                Check if this is an amended
                                                                                                                                                           filing
     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest Unsecured Claims and Are
     Not Insiders                                                                           12/15

    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity
    who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among
    the holders of the 50 largest unsecured claims.
      Name of creditor and complete mailing address,          Name, telephone number, and Nature of the claim (for Indicate if claim is Amount of unsecured claim
                       including zip code                    email address of creditor contact example, trade debts,         contingent,      if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                      bank loans,          unliquidated, or If claim is partially secured, fill in total claim amount and
                                                                                                 professional services,        disputed       deduction for value of collateral or setoff to calculate unsecured
                                                                                                   and government                             claim.
                                                                                                       contracts)                                                         Deduction for
                                                                                                                                                   Total claim, if      value of collateral
                                                                                                                                                 partially secured          or setoff            Unsecured claim
    Wilmington Savings Funds Society
    Attn: Patrick J. Healy
                                                                   Patrick J. Healy
    Senior Vice President                                                                                  11.625% Senior Notes due
  1                                                                EMAIL - PHealy@wsfsbank.com                                                                                                  $        421,829,166
    WSFS Bank Center                                                                                      2023
                                                                   PHONE - 302-792-6000
    Wilmington, DE 19801
    United States
    Blue Cross Blue Shield
    Attn: Brenton H. Johnson                                       Brenton H. Johnson
    Account Executive, Major Accounts                              EMAIL - Brenton_Johnson@BCBST.com
  2                                                                                                       Trade Payable                                                                         $         14,531,270
    1 Cameron Hill Circle                                          PHONE - 423-535-6424
    Chattanooga, TN 37402                                          FAX - 423.535.3433
    United States
    Health Trust Workforce Solutions
    Attn: Jeffrey Greenlund                                        Jeffrey Greenlund
    VP of Strategic Accounts                                       EMAIL -
  3                                                                                                       Trade Payable                                                                         $          1,577,278
    1000 Sawgrass Parkway                                          jeffrey.greenlund@healthtrustws.com
    Sunrise, FL 33323                                              PHONE - 774-289-7517
    United States
    DXC Technology Company
    Attn: Bill Deckelman
                                                                   Bill Deckelman
    Evp, General Counsel & Secy.
  4                                                                EMAIL - bill.deckelman@dxc.com         Trade Payable                                                                         $          1,520,910
    1775 Tysons Blvd
                                                                   PHONE - 703-245-9700
    Tysons, VA 22102
    United States
    Tech Mahindra Limited
    Attn: Asst. General Counsel
                                                                   Asst. General Counsel
    4965 Preston Park Blvd
  5                                                                EMAIL - connect@techmahindra.com       Trade Payable                                                                         $          1,300,000
    Suite 500
                                                                   PHONE - +91-22-2289-5500
    Plano, TX 75093
    United States
    Stryker Orthopaedics
    Attn: Michael Ray
                                                                   Michael Ray
    National Account Manager
  6                                                                EMAIL - Michael.Ray@Stryker.com        Trade Payable                                                                         $          1,219,872
    325 Corporate Drive
                                                                   PHONE - 615-405-0123
    Mahwah, NJ 07430
    United States
    Owens & Minor
    Attn: Michael Butler                                           Michael Butler
    Vice President, Client Enterprise Owens & Minor                EMAIL - Michael.Butler@Owens-
  7                                                                                                       Trade Payable                                                                         $          1,031,757
    3551 Workman Road                                              Minor.com
    Knoxville, TN 37921                                            PHONE - 615-202-3832
    United States
    Cerner Corporation
    Attn: Sr. Director, Contract Management                        Sr. Director, Contract Management
  8 2800 Rockcreek Parkway                                         EMAIL - neal.patterson@cerner.com      Trade Payable                                                                         $           964,558
    Kansas City, MO 64117                                          PHONE - 816-221-1024
    United States
    Zimmer Us, Inc.
    Attn: Jordan Howell                                            Jordan Howell
    National Account Manager                                       EMAIL -
  9                                                                                                       Trade Payable                                                                         $           861,615
    345 E Main Street                                              Jordan.Howell@zimmerbiomet.com
    Warsaw, IN 46581                                               PHONE - 615-917-4552
    United States
    Athenahealth, Inc
    Attn: Jessica Collins                                          Jessica Collins
    Svp, General Counsel                                           EMAIL - jecollins@athenahealth.com
 10                                                                                                       Trade Payable                                                                         $           719,398
    311 Arsenal Street                                             PHONE - 617-402-1000
    Watertown, MA 02472                                            FAX - 607-402-1099
    United States
    Johnson & Johnson Health Care Systems Inc.
    Attn: Mike Severance                                           Mike Severance
    National Account Manager                                       EMAIL - mseveran@its.jnj.com
 11                                                                                                       Trade Payable                                                                         $           692,819
    425 Hoes Lane                                                  PHONE - 615-585-4790
    Piscataway, NJ 08854                                           FAX -
    United States




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       Name of creditor and complete mailing address,          Name, telephone number, and Nature of the claim (for Indicate if claim is               Amount of unsecured claim
                     including zip code                       email address of creditor contact example, trade debts,    contingent,                   if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                     bank loans,       unliquidated, or                If claim is partially secured, fill in total claim amount and
                                                                                                professional services,     disputed                    deduction for value of collateral or setoff to calculate unsecured
                                                                                                  and government                                       claim.
                                                                                                      contracts)                                                                   Deduction for
                                                                                                                                                            Total claim, if      value of collateral
                                                                                                                                                          partially secured            or setoff           Unsecured claim
    The North Highland Company LLC
    Attn: Vice President
                                                             Vice President
    5105 Maryland Way
 12                                                          EMAIL - news@northhighland.com          Trade Payable                                                                                   $              599,480
    Suite 200
                                                             PHONE - 615-370-2790
    Brentwood, TN 37027
    United States
    Abbott Laboratories
    Attn: Duncan Eidt
                                                             Duncan Eidt
    National Account Manager
 13                                                          EMAIL - duncan.eidt@abbott.com          Trade Payable                                                                                   $              574,585
    3650 Mansell Rd Suite 200
                                                             PHONE - 601-540-5467
    Alpharetta, GA 30022
    United States
    Aramark Corporation
    Attn: Bret Collins
                                                             Bret Collins
    Director, GPO Relationship Manager
 14                                                          EMAIL - collins-bret@armark.com         Trade Payable                                                                                   $              557,327
    27020 230th PL SE
                                                             PHONE - 602-300-0006
    Maple Valley, WA 98038
    United States
    Medline Industries Inc
    Attn: Jeff Fair
                                                             Jeff Fair
    VP National Accounts
 15                                                          EMAIL - jfair@medline.com               Trade Payable                                                                                   $              426,671
    One Medline Place
                                                             PHONE - 615-504-3930
    Mundelein, IL 60060
    United States
    Global Healthcare Exchange LLC
    Attn: Michael Puckett
                                                             Michael Puckett
    National Account Manager
 16                                                          EMAIL - mpuckett@ghx.com                Trade Payable                                                                                   $              387,089
    1315 W. Century Drive Suite 100
                                                             PHONE - 615-525-6284
    Louisville, KY 80027
    United States
    Intuitive Surgical Inc.
    Attn: Ryan Carolson
                                                             Ryan Carolson
    National Key Customer Director
 17                                                          EMAIL - Ryan.Carlson@intusurg.com       Trade Payable                                                                                   $              385,424
    1020 Kifer Road
                                                             PHONE - 727-698-5339
    Sunnyvale, CA 94086
    United States
    Creative Alliance Inc
    Attn: Toni Clem
    President                                                Toni Clem
 18 400 W Market St                                          EMAIL - toni.clem@scoppechio.com        Trade Payable                                                                                   $              384,616
    Suite 1400                                               PHONE - 502-214-2979
    Louisville, KY 40202
    United States
    Sap America Inc
    Attn: Mark Andrew Benton                                 Mark Andrew Benton
    Corporate Counsel                                        EMAIL - info@sap.com
 19                                                                                                  Trade Payable                                                                                   $              378,023
    3999 West Chester Pike                                   PHONE - 610-661-1000
    Newtown Square, PA 19073                                 FAX - 610-661-4016
    United States
    Medhost Of Tennessee Inc
    Attn: President & CFO
                                                             President & CFO
    6550 Carothers Parkway
 20                                                          EMAIL - inquiries@medhost.com           Trade Payable                                                                                   $              369,488
    Suite 100
                                                             PHONE - 800-383-6278
    Franklin, TN 37067
    United States
    Boston Scientific Corporation
    Attn: Doug Mills
                                                             Doug Mills
    Director National Accounts
 21                                                          EMAIL - douglas.mills@bsci.com          Trade Payable                                                                                   $              367,476
    100 Boston Scientific Way
                                                             PHONE - 310-971-8294
    Marlborough, MA 01752
    United States
    Strata Decision Technology Holdings LLC
    Attn: Dan Michelson                                      Dan Michelson
    Chief Executive Officer                                  EMAIL - support@stratadecision.com
 22                                                                                                  Trade Payable                                                                                   $              346,663
    200 E. Randolph Street, 49Th Fl                          PHONE - 312-726-1227
    Chicago, IL 60601-6463                                   FAX - 312-726-2947
    United States
    Staples Inc.
    Attn: Ron Howard
                                                             Ron Howard
    National Account Manager
 23                                                          EMAIL - rod.howard@staples.com          Trade Payable                                                                                   $              328,251
    500 Staples Dr
                                                             PHONE - 678-826-775
    Framingham, MA 01702
    United States
    Health Stream, Inc
    Attn: Sara Stanton
                                                             Sara Stanton
    Regional Client Account Executive
                                                             EMAIL - sara.stanton@healthstream.com
 24 500 11Th Avenue, North                                                                           Trade Payable                                                                                   $              306,498
                                                             PHONE - 615-970-0453
    Suite 1000
                                                             FAX - 615-301-3200
    Nashville, TN 37203
    United States
    Arthrex Inc.
    Attn: Jack Hillebrand
                                                             Jack Hillebrand
    Illinois Territory Manager
 25                                                          EMAIL - jhillebrand@eliteorthollc.com   Trade Payable                                                                                   $              305,980
    1370 Creekside Boulevard
                                                             PHONE - 618-670-0280
    Naples, FL 34108
    United States

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       Name of creditor and complete mailing address,              Name, telephone number, and Nature of the claim (for Indicate if claim is               Amount of unsecured claim
                     including zip code                           email address of creditor contact example, trade debts,    contingent,                   if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                         bank loans,       unliquidated, or                If claim is partially secured, fill in total claim amount and
                                                                                                    professional services,     disputed                    deduction for value of collateral or setoff to calculate unsecured
                                                                                                      and government                                       claim.
                                                                                                          contracts)                                                                   Deduction for
                                                                                                                                                                Total claim, if      value of collateral
                                                                                                                                                              partially secured            or setoff           Unsecured claim
    Fisher Health Care
    Attn: Bonnie Burks
                                                                 Bonnie Burks
    Health Systems Executive
 26                                                              EMAIL - bonnie.burk@thermofisher.com    Trade Payable                                                                                   $              301,951
    11450 Compaq Center Drive West, Suite #570
                                                                 PHONE - 248-978-2067
    Houston, TX 77070
    United States
    Biomet, Inc
    Attn: Jordan Howell                                          Jordan Howell
    National Account Manager                                     EMAIL -
 27                                                                                                      Trade Payable                                                                                   $              293,695
    345 E Main Street                                            Jordan.Howell@zimmerbiomet.com
    Warsaw, IN 46581                                             PHONE - 615-917-4552
    United States
    National Health Investors Inc.
    Attn: D. Eric Mendelsohn
                                                                 D. Eric Mendelsohn
    President/Ceo
 28                                                              EMAIL - Investorrelations@Nhireit.Com   Trade Payable                                                                                   $              291,812
    222 Robert Rose Dr
                                                                 PHONE - 615-890-9100
    Mufreesboro, TN 37129
    United States
    Siemens Healthcare Diagnostics
    Attn: Lynelle Oliver Nordloh                                 Lynelle Oliver Nordloh
    National Account Manager                                     EMAIL - lynelle.o.nordloh@siemens-
 29                                                                                                      Trade Payable                                                                                   $              289,387
    1881 Princeton Dr                                            healthineers.com
    Louisville, KY 40205                                         PHONE - 502-895-4185
    United States
    Spine Wave Inc
    Attn: Terry Brennan                                          Terry Brennan
    Chief Financial Officer                                      EMAIL - Tbrennan@Spinewave.Com
 30                                                                                                      Trade Payable                                                                                   $              281,625
    3 Enterprise Dr #210                                         PHONE - 203-712-1810
    Shelton, CT 06484                                            FAX - 203-944-9493
    United States

    MorCare, LLC
    Attn: Beth Brand
                                                                 Beth Brand
    Vice President, Product Management and Customer Experience
 31                                                              EMAIL - Sales@MorCareLLC.com            Trade Payable                                                                                   $              264,377
    222 S Riverside Plaza
                                                                 PHONE - 844-344-3723
    Chicago, IL 60606
    United States

    Xanitos, Inc.
    Attn: Don Schweer
                                                                 Don Schweer
    National Account Executive
 32                                                              EMAIL - dschweer@xanitos.com            Trade Payable                                                                                   $              260,232
    3809 W Chester Pike Suite 210
                                                                 PHONE - 773-703-3150
    Newtown Square, PA 19073
    United States
    Bioventus LLC
                                                                 Anthony D'Adamio
    Attn: Anthony D'Adamio
                                                                 EMAIL -
    Svp & General Counsel
 33                                                              Anthony.dadamio@bioventusglobal.com     Trade Payable                                                                                   $              248,447
    4721 Emperor Blvd Ste 100
                                                                 PHONE - 800-396-4325
    Durham, NC 27703
                                                                 FAX - 866-832-7284
    United States
    Henry Schein Inc
    Attn: Walter Siegel
                                                                 Walter Siegel
    Svp & General Counsel
 34                                                              EMAIL - Walter.Siegel@henryschein.com   Trade Payable                                                                                   $              247,630
    135 Duryea Rd
                                                                 PHONE - 631-843-5500
    Melville, NY 11747
    United States
    Medtronic Inc.
    Attn: Debra Jones
                                                                 Debra Jones
    National Account Manager
 35                                                              EMAIL - debra.l.jones@medtronic.com     Trade Payable                                                                                   $              241,375
    6743 Southpoint Dr. N
                                                                 PHONE - 757-472-9572
    Jacksonville, FL 32216
    United States
    Philips Healthcare
    Attn: Alex Donofrio
                                                                 Alex Donofrio
    National Account Manager
 36                                                              EMAIL - Alex.Donofrio@philips.com       Trade Payable                                                                                   $              230,241
    222 Jacobs St. #3
                                                                 PHONE - 615-427-8898
    Cambridge, MA 02141
    United States
    Bradley Arant Boult Cummings LLP
    Attn: Corby Cochran Anderson
    Partner                                                      Corby Cochran Anderson
    Hearst Tower                                                 EMAIL - canderson@bradley.com
 37                                                                                                      Trade Payable                                                                                   $              228,117
    214 North Tryon Street                                       PHONE - 704-338-6000
    Suite 3700                                                   FAX - 704-332-8858
    Charlotte, NC 28202
    United States
    Smith & Nephew plc
    Attn: Jeremy Spencer                                         Jeremy Spencer
    National Account Manager                                     EMAIL - jeremy.spencer@smith-
 38                                                                                                      Trade Payable                                                                                   $              218,697
    7135 Goodlett Farms Pkwy                                     nephew.com
    Cordova, TN 38016                                            PHONE - 704-562-5862
    United States




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       Name of creditor and complete mailing address,          Name, telephone number, and Nature of the claim (for Indicate if claim is               Amount of unsecured claim
                     including zip code                       email address of creditor contact example, trade debts,    contingent,                   if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                     bank loans,       unliquidated, or                If claim is partially secured, fill in total claim amount and
                                                                                                professional services,     disputed                    deduction for value of collateral or setoff to calculate unsecured
                                                                                                  and government                                       claim.
                                                                                                      contracts)                                                                   Deduction for
                                                                                                                                                            Total claim, if      value of collateral
                                                                                                                                                          partially secured            or setoff           Unsecured claim
    C R Bard, Inc.
    Attn: Michael Curtis
                                                             Michael Curtis
    National Account Executive
 39                                                          EMAIL - mike.curtis@bd.com             Trade Payable                                                                                    $              217,899
    4308 W 66th Street
                                                             PHONE - 913-961-6870
    Prairie Village, KS 66208
    United States
    Cardinal Health, Inc.
    Attn: Kevin Dickemper                                    Kevin Dickemper
    National Account Manager                                 EMAIL -
 40                                                                                                 Trade Payable                                                                                    $              217,731
    7000 Cardinal Place                                      Kevin.Dickemper@CardinalHealth.com
    Dublin, OH 43017                                         PHONE - 618-741-5119
    United States
    Granite City Emergency Medicine Providers, LLC
    Attn: Daniel Doolittle                                   Daniel Doolittle
    Chief Executive Officer                                  EMAIL - info@iephysicians.com
 41                                                                                                 Trade Payable                                                                                    $              194,836
    2250 N Illinois Ave                                      PHONE - 618-833-1691
    Carbondale, IL 62901                                     FAX - 618-861-5302
    United States
    Sev Mallory I LLC
    Attn: Wood Caldwell                                      Wood Caldwell
    Principal                                                EMAIL - wcaldwell@southeastventure.com
 42                                                                                                 Trade Payable                                                                                    $              187,135
    4011 Armory Oaks Drive                                   PHONE - 615-833-8716
    Nashville, TN 37204                                      FAX - 615-781-0493
    United States
    Comp Health
    Attn: Lisa Payne Grabl
                                                             Lisa Payne Grabl
    President
 43                                                          EMAIL - lisa.payne@comphealth.com      Trade Payable                                                                                    $              185,071
    7259 S. Bingham Jct. Blvd.
                                                             PHONE - 866-404-9927
    Midvale, UT 84047
    United States
    Covidien
    Attn: Jamie Montgomery                                   Jamie Montgomery
    National Account Manager                                 EMAIL -
 44                                                                                                 Trade Payable                                                                                    $              175,802
    15 Hampshire Street                                      jamie.r.montgomery@medtronic.com
    Mansfield, MA 02048                                      PHONE - 508-212-4825
    United States
    Insight Direct USA, Inc.
    Attn: Ken Laglynis Bryanmneck
                                                             Ken Laglynis Bryanmneck
    Chief Financial Officer
 45                                                          EMAIL - Glynis.Bryan@Insight.Com       Trade Payable                                                                                    $              167,675
    6820 S. Harl Ave
                                                             PHONE - 480-333-3390
    Tempe, AZ 85283
    United States
    Healthgrades Operating Company Inc
    Attn: Rob Draughon
                                                             Rob Draughon
    Chief Executive Officer
 46                                                          EMAIL - avimukherjee@healthgrades.com Trade Payable                                                                                     $              163,057
    999 18Th Street Suite 600
                                                             PHONE - 303-716-0041
    Denver, CO 80202
    United States
    Hologic
    Attn: Michael Dalton
                                                             Michael Dalton
    National Account Manager
 47                                                          EMAIL - Michael.Dalton@hologic.com     Trade Payable                                                                                    $              146,103
    250 Campus Drive
                                                             PHONE - 615-691-1925
    Marlborough, MA 01752
    United States
    Gordon Food Service
    Attn: Bryan Vaughn
    National Account Manager                                 Bryan Vaughn
 48 1300 Gezon Parkway SW                                    EMAIL - bryan.vaughn@gfs.com           Trade Payable                                                                                    $              144,723
    P.O. Box 1787                                            PHONE - 616-717-7553
    Grand Rapids, MI 49509
    United States
    Gardaworld Security Services
    Attn: Stephan Cretier
                                                             Stephan Cretier
    Chief Financial Officer
 49                                                          EMAIL - gstiebing@whelansecurity.com   Trade Payable                                                                                    $              134,439
    1699 S. Hanley Road, Suite 350
                                                             PHONE - 314-644-1974
    St. Louis, IL 63144
    United States
    Midwest Mowing Inc
                                                             General Counsel
    Attn: General Counsel
                                                             EMAIL -
 50 2450 Owens Ln                                                                                   Trade Payable                                                                                    $              128,849
                                                             Belinda.Lewis@midwestmowinginc.com
    Brighton, IL 62012
                                                             PHONE - 618-372-4466
    United States




Official Form 204                                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                            page 4
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  ) Chapter 11
                                                            )
    QUORUM HEALTH CORPORATION, et                           ) Case No. 20-[_______] (___)
    al.,1                                                   )
                                                            ) (Joint Administration Requested)
                                      Debtors.              )
                                                            )

                   CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

             Pursuant to Rule 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, no

corporate entity directly or indirectly owns 10% or more of any class of Quorum Health

Corporation’s equity interests as of March 23, 2020.

             Quorum Health Corporation owns 100% of the equity interests or membership interests, as

applicable, of the following Debtors:

               Ambulance Services of McKenzie, Inc.
               Anna Clinic Corp.
               Anna Hospital Corporation
               Big Bend Hospital Corporation
               Big Spring Hospital Corporation
               Blue Island Illinois Holdings, LLC
               Blue Ridge Georgia Holdings, LLC
               Central Alabama Physician Services, Inc.
               CHS Utah Holdings, LLC
               Clinton Hospital Corporation
               Crossroads Physician Corp.
               Deming Clinic Corporation
               Deming Hospital Corporation
               Deming Nursing Home Company, LLC
               Evanston Clinic Corp.
               Evanston Hospital Corporation
               Fort Payne Clinic Corp.

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      The last four digits of Quorum Health Corporation’s tax identification number are 5208. Due to the large number
      of Debtors in these chapter 11 cases, for which the Debtors have requested joint administration, a complete list of
      the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
      list of such information may be obtained on the website of the Debtors’ proposed claims and noticing agent at
      https://dm.epiq11.com/Quorum. The location of Quorum Health Corporation’s corporate headquarters and the
      Debtors’ service address is 1573 Mallory Lane, Brentwood, Tennessee 37027.

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Fort Payne HBP, LLC
Fort Payne Hospital Corporation
Fort Payne RHC Corp.
Galesburg Hospital Corporation
Galesburg Professional Services, LLC
Granite City Clinic Corp.
Granite City Hospital Corporation
Granite City Physicians Corp.
Greenville Clinic Corp.
Greenville Hospital Corporation
Haven Clinton Medical Associates, LLC
Hospital of Louisa, Inc.
Jackson Hospital Corporation
Jackson Physician Corp.
Kentucky River HBP, LLC
Kentucky River Physician Corporation
King City Physician Company, LLC
Knox Clinic Corp.
Lock Haven Clinic Company, LLC
Marion Hospital Corporation
McKenzie Clinic Corp.
McKenzie Tennessee Hospital Company, LLC
Memorial Management, Inc.
National Healthcare of Mt. Vernon, Inc.
National Imaging of Mt. Vernon, LLC
Our Healthy Circle
QHC California Holdings, LLC
QHCCS, LLC
Quorum Health Corporation Political Action Committee
Quorum Health Foundation, Inc.
Quorum Health Investment Company, LLC
Red Bud Clinic Corp.
Red Bud Hospital Corporation
Red Bud Regional Clinic Company, LLC
San Miguel Clinic Corp.
San Miguel Hospital Corporation
Summit Emergency Medicine, LLC
Sunbury Clinic Company, LLC
Sunbury Hospital Company, LLC
Three Rivers Medical Clinics, Inc.
Tooele Clinic Corp.
Tooele Hospital Corporation
Waukegan Hospital Corporation
Williamston Clinic Corp.
Williamston HBP Services, LLC
Williamston Hospital Corporation
                                    2
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       Blue Island Illinois Holdings, LLC owns 100% of the membership interests in the

following Debtors:

           Blue Island Clinic Company, LLC
           Blue Island HBP Medical Group, LLC
           Blue Island Hospital Company, LLC
           QHC Blue Island Urgent Care Holdings, LLC

       Blue Ridge Georgia Holdings, LLC owns 100% of the equity of the following Debtors:

           Blue Ridge Georgia Hospital Company, LLC
           Fannin Regional Orthopaedic Center, Inc.
           Hidden Valley Medical Center, Inc.

       CHS Utah Holdings, LLC owns 100% of the membership interests in Debtor Ambulance

Services of Tooele, LLC.

       Galesburg Hospital Corporation owns 100% of the outstanding equity of Debtor In-Home

Medical Equipment Supplies and Services, Inc.

       Granite City Hospital Corporation owns 100% of the equity interests or membership

interests, as applicable, of the following Debtors:

           Granite City ASC Investment Company, LLC
           Granite City HBP Corp.
           Granite City Illinois Hospital Company, LLC
           Granite City Orthopedic Physicians Company, LLC

       Granite City Illinois Hospital Company, LLC owns 68.097% and Granite City ASC

Investment Company, LLC owns 0.3422% of the membership interests of Debtor Edwardsville

Ambulatory Surgery Center, L.L.C. The remaining 31.5608% of membership interests in Debtor

Edwardsville Ambulatory Surgery Center, L.L.C. are owned by physician investors.

       Memorial Management, Inc. owns 100% of the membership interests in the following

Debtors:

           Heartland Rural Healthcare, LLC
           National Imaging of Carterville, LLC
                                                  3
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           River to River Heart Group, LLC
           Southern Illinois Medical Care Associates, LLC

       QHC California Holdings, LLC owns 100% of the equity of the following Debtors:

           Barstow Healthcare Management, Inc.
           Hospital of Barstow, Inc.

       Quorum Health Investment Company, LLC owns 100% of the equity interests or

membership interests, as applicable, of the following Debtors:

           CSRA Holdings, LLC
           Forrest City Holdings, LLC
           Georgia HMA Physician Management, LLC
           Hamlet H.M.A, LLC
           Hamlet HMA Physician Management, LLC
           Hamlet HMA PPM, LLC
           Mesquite Clinic Management Company, LLC
           MMC of Nevada, LLC
           Monroe HMA, LLC
           Monroe HMA Physician Management, LLC
           Paintsville HMA Physician Management, LLC
           Phillips Clinic Company, LLC
           Phillips Hospital Company, LLC
           QHC ARM Shared Services, LLC
           QHC HIM Shared Services, LLC
           QHG of Massillon, Inc.
           Quorum Health Resources, LLC
           Triad of Oregon, LLC
           Winder HMA, LLC

       CSRA Holdings, LLC owns 100% of the membership interests of the following Debtors:

           Augusta Hospital, LLC
           Augusta Physician Services, LLC

       Forrest City Holdings, LLC owns 100% of the membership interests of the following

Debtors:

           Ambulance Services of Forrest City, LLC
           Forrest City Arkansas Hospital Company, LLC
           Forrest City Clinic Company, LLC



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       Monroe HMA Physician Management, LLC owns 100% of the membership interests of

Debtor Monroe Diagnostic Testing Centers, LLC.

       QHG of Massillon, Inc. owns 100% of the membership interests of the following Debtors:

           Massillon Health System, LLC
           Massillon Holdings, LLC

       Massillon Health System, LLC owns 99% and Massillon Holdings, LLC owns 1% of the

membership interests of Debtor Massillon Community Health System, LLC.

       Massillon Community Health System, LLC owns 100% of the membership interests of the

following Debtors:

           DHSC, LLC
           Doctors Hospital Physician Services, LLC
           Massillon Physician Services, LLC

       Quorum Health Resources, LLC owns 100% of the membership interests of the following

Debtors:

           QHR Development, LLC
           QHR Healthcare Affiliates, LLC
           QHR Intensive Resources, LLC
           QHR International, LLC
           Quorum Purchasing Advantage, LLC
           Quorum Solutions, LLC

       Triad of Oregon, LLC owns 100% of the membership interests of Debtor Springfield

Oregon Holdings, LLC.

       Winder HMA, LLC owns 100% of the equity interests of Debtor Barrow Health Ventures,

Inc.

       Quorum Health Investment Company, LLC owns 99% and Triad of Oregon, LLC owns

1% of the membership interests of Debtor MWMC Holdings, LLC.

       MWMC Holdings, LLC owns 92.24% and OHR Physician Group, P.C. owns 7.76% of the

membership interests in Debtor McKenzie-Willamette Regional Medical Center Associates, LLC.
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       McKenzie-Willamette Regional Medical Center Associates, LLC owns 100% of the

membership interests of Debtor McKenzie Physician Services, LLC.

       Quorum Health Investment Company, LLC owns 97.08% of the membership interests of

Debtor Paintsville Hospital Company, LLC. The remaining 2.92% of membership interests in

Debtor Paintsville Hospital Company, LLC are owned by physician investors.

       Red Bud Clinic Corp. owns 100% of the membership interests in Debtor Red Bud

Physician Group, LLC.

       Red Bud Hospital Corporation owns 100% of the membership interests in Debtor Red Bud

Illinois Hospital Company, LLC.

       Red Bud Illinois Hospital Company, LLC owns 100% of the membership interests in

Debtor Monroe County Surgical Center, LLC.

       Waukegan Hospital Corporation owns 100% of the equity interests or membership

interests, as applicable, of the following Debtors:

          Lindenhurst Illinois Hospital Company, LLC
          OHANI, LLC
          Waukegan Clinic Corp.
          Waukegan Illinois Hospital Company, LLC

       Waukegan Illinois Hospital Company, LLC owns 100% of the membership interests in

Debtor Lindenhurst Surgery Center, LLC.




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 Fill in this information to identify the case:

 Debtor name         Quorum Health Corporation

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration     Consolidated List of Creditors Who Have the 50 Largest Unsecured
                                                                             Claims and Are Not Insiders and Consolidated Corporate Ownership
                                                                             Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          04/07/2020                              X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Alfred Lumsdaine
                                                                         Printed name

                                                                         Executive Vice President and Chief Financial Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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